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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY


SUNDESA, LLC d/b/a THE          )
BLENDERBOTTLE COMPANY, a )
Utah limited liability company, ) C.A. No.
                                )
                    Plaintiff,  )
                                ) COMPLAINT FOR PATENT
v.                              ) INFRINGEMENT, TRADE DRESS
                                ) INFRINGEMENT, FALSE
TEJARAH INTERNATIONAL           ) DESIGNATION OF ORIGIN, AND
INC. d/b/a KITCHSMART, a New ) UNFAIR COMPETITION
Jersey company,                 )
                                ) DEMAND FOR JURY TRIAL
                    Defendant.  )




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        Plaintiff      Sundesa,    LLC,     d/b/a    The    BlenderBottle     Company

(“BlenderBottle®”) hereby complains of Tejarah International Inc. d/b/a

Kitchsmart (“Defendant”) and alleges as follows:

                            I. JURISDICTION AND VENUE

        1.        This Court has original subject matter jurisdiction over the claims in

this action that relate to patent infringement, trade dress infringement, false

designation of origin, and federal unfair competition pursuant to 35 U.S.C. §§ 271

and 281, 28 U.S.C. §§ 1331 and 1338, and 15 U.S.C. §§ 1116, 1121(a), and

1125(a), as these claims arise under the laws of the United States. The Court has

supplemental jurisdiction over the claims that arise under state statutory and

common law pursuant to 28 U.S.C. § 1367(a) because the state law claims are so

related to the federal claims that they form part of the same case or controversy and

derive from a common nucleus of operative facts.

        2.        This Court has personal jurisdiction over Defendant because

Defendant resides in this judicial district, has a principal place of business in this

judicial district and has a continuous, systematic, and substantial presence within

this judicial district. For example, Defendant has been selling and offering for sale

infringing products in this judicial district, and committing acts of infringement in

this judicial district, including but not limited to, selling infringing products to

consumers and/or retailers in this district and selling into the stream of commerce


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knowing such products would be sold in New Jersey and this district. These acts

form a substantial part of the events or omissions giving rise to BlenderBottle®’s

claims.

        3.        Venue is proper in this judicial district under 28 U.S.C. §§ 1391(b),

1391(d), and 1400(b) because Defendant is a company organized and existing

under the laws of the State of New Jersey and has its principal place of business

located within this district, because Defendant has committed acts of infringement

by offering to sell and/or selling infringing products in this judicial district, and

because Defendant has a regular and established place of business in this district.

                                    II. THE PARTIES

        4.        Plaintiff Sundesa, LLC doing business as the BlenderBottle Company

is a limited liability company organized and existing under the laws of the State of

Utah, with its principal place of business located at 250 South 850 East, Lehi, Utah

84043.

        5.        BlenderBottle® is informed and believes, and, based thereon, alleges

that Defendant Tejarah International, Inc. d/b/a Kitchsmart is a corporation

organized and existing under the laws of the State of New Jersey, with its principal

place of business located at 720 S. Front St. Elizabeth, New Jersey 07202.




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                            III. GENERAL ALLEGATIONS

        6.        BlenderBottle® revolutionized the way supplements are mixed and

consumed. Through the tireless efforts of its designers and engineers over nearly

two decades, BlenderBottle® has pioneered innovative technology and path-

breaking designs to create premium products that help simplify everyday life.

Available in more than 90 countries worldwide and in over 60,000 retail locations,

BlenderBottle®’s shakers have become the go-to products for outdoor enthusiasts,

gym goers, serious protein drinkers and more.                   Products embodying

BlenderBottle®’s proprietary designs and technology have been lauded by

consumers and the media, including Good Morning America, Reader’s Digest,

Self, the Today Show, Men’s Fitness, and others.

        7.        BlenderBottle® protects its substantial investment in innovation and

design from imitators with its intellectual property rights.

        8.        On April 30, 2002, the United States Patent and Trademark Office

(“USPTO”) duly and lawfully issued United States Patent No. 6,379,032 (the

“’032 Patent”), titled “FLOW-THROUGH AGITATOR.” BlenderBottle® is the

exclusive licensee of the ’032 Patent and has been granted all rights thereunder,

including the right and standing to enforce the ’032 Patent. A true and correct

copy of the ’032 Patent is attached hereto as Exhibit 1.




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        9.        On October 4, 2005, the USPTO duly and lawfully issued United

States Design Patent No. D510,235 (the “’D235 Patent”), titled “BOTTLE.”

BlenderBottle® is the exclusive licensee of the D235 Patent and has been granted

all rights thereunder, including the right and standing to enforce the D235 Patent.

A true and correct copy of the D235 Patent is attached hereto as Exhibit 2.

        10.       Defendant manufactures, uses, sells, offers for sale, and/or imports

into the United States shakers, including for example the Top Shaker and Blender,

that have infringed BlenderBottle®’s patent rights, including the ’032 Patent and

D235 Patent (collectively, the “Asserted Patents”). The Top Shaker and Blender is

depicted below.




        11.       BlenderBottle® manufactures and sells shakers bearing a distinctive

trade dress in the overall design of its classic shaker (the “Classic Trade Dress”).

An example of BlenderBottle®’s Classic Trade Dress is depicted below.

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        12.       As a result of BlenderBottle®’s widespread use and display of the

Classic Trade Dress in association with its shakers, (a) the public has come to

recognize and identify shakers bearing the Classic Trade Dress as emanating from

BlenderBottle®, (b) the public recognizes that shakers bearing the Classic Trade

Dress constitute high quality products that conform to the specifications created by

BlenderBottle®, and (c) the Classic Trade Dress has established strong secondary

meaning and extensive goodwill.

        13.       The Classic Trade Dress is not functional.   The design features

embodied by the Classic Trade Dress are not essential to the function of the

product, do not make the product cheaper or easier to manufacture, and do not

affect the quality of the product. The design of the Classic Trade Dress is not a

competitive necessity.




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        14.       Subsequent to BlenderBottle®’s use and adoption of the Classic Trade

Dress, Defendant has developed, manufactured, imported, advertised, and/or sold

shakers that use a design that is confusingly similar to the Classic Trade Dress.

        15.       BlenderBottle® manufactures and sells agitators bearing a distinctive

trade dress in the overall design of the product (the “Agitator Trade Dress”). An

example of BlenderBottle®’s Agitator Trade Dress is depicted below.




        16.       As a result of BlenderBottle®’s widespread use and display of the

Agitator Trade Dress in association with its agitators, (a) the public has come to

recognize and identify agitators bearing the Agitator Trade Dress as emanating

from BlenderBottle®, (b) the public recognizes that agitators bearing the Classic

Trade Dress constitute high quality products that conform to the specifications

created by BlenderBottle®, and (c) the Agitator Trade Dress have established

strong secondary meaning and extensive goodwill.

        17.       The Agitator Trade Dress is not functional.     The design features

embodied by the Agitator Trade Dress is not essential to the function of the


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product, does not make the product cheaper or easier to manufacture, and does not

affect the quality of the product. The design of each of the Agitator Trade Dress is

not a competitive necessity.

        18.       The Agitator Trade Dress and the Classic Trade Dress are invaluable

assets essential to BlenderBottle®’s success and represent the designs of their

signature products. The shape of the Agitator Trade Dress symbolizes the company

itself and is a registered trademark used by BlenderBottle® as its corporate logo.




        19.       This logo is prominently displayed on BlenderBottle®’s website, its

marketing materials, and stamped on its products.

        20.       Subsequent to BlenderBottle®’s use and adoption of the Classic Trade

Dress and the Agitator Trade Dress, Defendant has developed, manufactured,

imported, advertised, and/or sold shakers and agitators that use trade dress that are

confusingly similar to the Classic Trade Dress and the Agitator Trade Dress,

respectively.

        21.       On May 25, 2017, BlenderBottle® sent Defendant a cease and desist

letter demanding that Defendant cease selling shakers that infringe the ’032 Patent

and D235 Patent. A true and correct copy of this letter is attached as Exhibit 3.




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        22.       On July 13, 2018, February 27, 2019, April 8, 2019, April 30, 2019,

June 20, 2019, and July 23, 2019, BlenderBottle® sent Defendant follow-up letters

demanding that Defendant immediately stop any infringing conduct, including its

infringement of the ’032 Patent and D236 Patent. True and correct copies of these

letters are attached as Exhibits 4-9.

        23.       Despite BlenderBottle®’s letters (collectively the “Cease and Desist

Letters”), Defendant has continued to sell infringing products.

        24.       BlenderBottle® is informed and believes, and based thereon alleges

that Defendant has intended to blatantly copy BlenderBottle®’s proprietary

designs, and pass off its goods as BlenderBottle®’s high quality products to

misappropriate the immense goodwill that BlenderBottle® has spent enormous

time, effort, and expense to cultivate in the marketplace. Defendant’s use of the

Classic Trade Dress and Agitator Trade Dress in commerce is likely to cause

confusion, cause mistake, and to deceive as to an affiliation, connection, or

association of Defendant and/or its products with BlenderBottle®, when there is

none.

        25.       Defendant’s acts complained of herein have caused BlenderBottle® to

suffer irreparable injury to its business. BlenderBottle® will continue to suffer

substantial loss and irreparable injury unless and until Defendant is enjoined from

its wrongful actions complained of herein.


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        26.       BlenderBottle® is informed and believes, and on that basis alleges

that Defendant’s acts complained of herein are willful and deliberate.

                            IV. FIRST CLAIM FOR RELIEF
                                  (Patent Infringement)
                                    (35 U.S.C. § 271)

        27.       BlenderBottle® repeats and re-alleges the allegations of paragraph 1-

26 of this Complaint as if set forth fully herein.

        28.       This is a claim for patent infringement under 35 U.S.C. § 271.

        29.       Defendant, through its agents, employees and/or servants has, and

continues to, knowingly, intentionally, and willfully infringe the ’032 Patent, either

literally or under the doctrine of equivalents, through, for example, the

manufacture, use, sale, offer for sale, and/or importation into the United States of

Defendant’s Top Shaker and Blender product.

        30.       For example, the Top Shaker and Blender infringes at least Claim 15

of the ’032 Patent as shown in the claim chart attached hereto as Exhibit 10.

        31.       BlenderBottle® is informed and believes, and thereon alleges that

Defendant knew of the ’032 Patent at least as early as 2017, when BlenderBottle®

sent the first of its Cease and Desist Letters to Defendant detailing Defendant’s

infringing activities with respect to the ’032 Patent.

        32.       Defendant, through its agents, employees and/or servants has, and

continues to, knowingly, intentionally, and willfully infringe the D235 Patent by


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making, using, selling, offering for sale, and/or importing products, including for

example the Top Shaker and Blender product, that have a design that infringes the

D235       Patent.   For   example,   the     side-by-side   visual   comparison   of

BlenderBottle®’s patented design and one of Defendant’s Top Shaker and Blender

products shown below establishes that in the eye of the ordinary observer, giving

such attention as a purchaser usually gives, the design of Defendant’s Top Shaker

and Blender is substantially the same as the claimed design of the D235 Patent,

because the resemblance is such as to deceive such an observer inducing him to

purchase one supposing it to the be the other. As a result, Defendant infringes the

D235 Patent.



     Defendant’s Top Shaker and                         D235 Patent
              Blender




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        33.       BlenderBottle® is informed and believes, and thereon alleges that

Defendant knew of the D235 Patent at least as early as 2017, when BlenderBottle®

sent the first of its Cease and Desist Letters to Defendant detailing Defendant’s

infringing activities with respect to the D235 Patent.

        34.       As a direct and proximate result of Defendant’s acts of infringement,

Defendant has derived and received gains, profits, and advantages in an amount

that is not presently known to BlenderBottle®.

        35.       Pursuant to 35 U.S.C. § 284, BlenderBottle® is entitled to damages

for Defendant’s infringing acts and treble damages together with interests and costs

as fixed by this Court.

        36.       Pursuant to 35 U.S.C. § 285, BlenderBottle® is entitled to reasonable

attorneys’ fees for the necessity of bringing this claim.

        37.       Pursuant to 35 U.S.C. § 289, BlenderBottle® is entitled to

Defendant’s total profits from Defendant’s infringement of the Asserted Patents.




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        38.       Due to Defendant’s actions, constituting patent infringement,

BlenderBottle®         has    suffered   great   and   irreparable   injury,   for   which

BlenderBottle® has no adequate remedy at law.

        39.       Defendant will continue to infringe BlenderBottle®’s patent rights to

the great and irreparable injury of BlenderBottle®, unless and until Defendant is

enjoined by this Court.

                             V. SECOND CLAIM FOR RELIEF
                                 (Trade Dress Infringement)
                                    (15 U.S.C. § 1125(a))

        40.       BlenderBottle® repeats and re-alleges the allegations of paragraph 1-

39 of this Complaint as if set forth fully herein.

        41.       This is a claim for trade dress infringement under 15 U.S.C. §

1125(a).

        42.       Subsequent to BlenderBottle®’s use and adoption of the Classic Trade

Dress, and the development of secondary meaning in that trade dress, Defendant

has developed, manufactured, imported, advertised, and/or sold products that use

trade dress that is confusingly similar to the Classic Trade Dress. An example of

Defendant’s infringing use of the Classic Trade Dress, as found on Defendant’s

website, kitchsmart.com is shown below:




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     Defendant’s Top Shaker and                  BlenderBottle®’s Classic Trade
              Blender                                        Dress




        43.       Subsequent to BlenderBottle®’s use and adoption of the Agitator

Trade Dress, and the development of secondary meaning in that trade dress,

Defendant has developed, manufactured, imported, advertised, and/or sold

products that use trade dress that is confusingly similar to the Agitator Trade

Dress. An example of Defendant’s infringing use of the Agitator Trade Dress, as

found on Defendant’s website, kitchsmart.com is shown below:

     Defendant’s Top Shaker and              BlenderBottle®’s Agitator Trade
              Blender                                     Dress




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        44.       Defendant’s use of the Classic Trade Dress and Agitator Trade Dress

in connection with its products is likely to cause confusion, or to cause mistake, or

to deceive as to the affiliation, connection, or association of Defendant with

BlenderBottle®.

        45.       BlenderBottle® is informed and believes, and based thereon alleges,

that Defendant infringed BlenderBottle®’s trade dress rights with the intent to

unfairly compete with BlenderBottle®, to trade upon BlenderBottle®’s reputation

and goodwill by causing confusion and mistake among customers and the public,

and to deceive the public into believing that Defendant’s products are associated

with, sponsored by, originated from, or are approved by BlenderBottle®, when

they are not, resulting in a loss of reputation in, and mischaracterization of,

BlenderBottle®’s products and its brand, damaging its marketability and

saleability.

        46.       Defendant’s activities constitute willful and intentional infringement

of BlenderBottle®’s trade dress rights in total disregard of BlenderBottle®’s

proprietary rights, and were done despite Defendant’s knowledge that use of the

Classic Trade Dress and Agitator Trade Dress was and is in direct contravention of

BlenderBottle®’s rights.

        47.       BlenderBottle® is informed and believes, and thereon alleges, that

Defendant has derived and received, and will continue to derive and receive, gains,


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profits, and advantages from Defendant’s trade dress infringement in an amount

that is not presently known to BlenderBottle®. By reason of Defendant’s actions,

constituting trade dress infringement, BlenderBottle® has been damaged and is

entitled to monetary relief in an amount to be determined at trial.

        48.       Pursuant to 15 U.S.C. § 1117, BlenderBottle® is entitled to recover

(1) Defendant’s profits, (2) any damages sustained by BlenderBottle®, and (3) the

costs of the action. In assessing damages, the Court may enter judgment up to

three times actual damages, and in awarding profits, the Court may in its discretion

enter judgment for such sum as the court shall find to be just, according to the

circumstances of the case.          The Court may also award BlenderBottle® its

reasonable attorneys’ fees for the necessity of bringing this claim.

        49.       Due to Defendant’s actions, constituting trade dress infringement,

BlenderBottle®         has   suffered   great   and   irreparable   injury,   for   which

BlenderBottle® has no adequate remedy at law.

        50.       Defendant will continue to infringe BlenderBottle®’s trade dress

rights to the great and irreparable injury of BlenderBottle®, unless and until

Defendant is enjoined by this Court.




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                              THIRD CLAIM FOR RELIEF

              (False Designation of Origin & Federal Unfair Competition)
                                  (15 U.S.C. § 1125(a))
        51.       BlenderBottle® repeats and re-alleges the allegations of paragraphs 1-

50 of this Complaint as if set forth fully herein.

        52.       This is a claim for unfair competition and false designation of origin

arising under 15 U.S.C. § 1125(a).

        53.       Defendant’s use of the Classic Trade Dress and Agitator Trade Dress,

without BlenderBottle®’s consent, constitutes false designation of origin, false or

misleading description of fact, or false or misleading representation of fact, which

is likely to cause confusion, or to cause mistake, or to deceive as to the affiliation,

connection, or association of such entity with another entity, or as to the origin,

sponsorship, or approval of its goods or commercial activities by another entity in

violation of 15 U.S.C. § 1125(a).

        54.       Defendant’s use of the Classic Trade Dress and Agitator Trade Dress

as a whole, without BlenderBottle®’s consent, constitutes a false designation of

origin, false or misleading description of fact, or false or misleading representation

of fact, which in commercial advertising or promotion, misrepresents the nature,

characteristics, qualities, or geographic origin of its products or commercial

activities in violation of 15 U.S.C. § 1125(a).



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        55.       BlenderBottle® is informed and believes, and based thereon alleges

that Defendant’s acts of false designation of origin, passing off, and unfair

competition have been willful and without regard to BlenderBottle®’s rights.

        56.       Pursuant to 15 U.S.C. § 1117, BlenderBottle® is entitled to recover

(1) Defendant’s profits, (2) any damages sustained by BlenderBottle®, and (3) the

costs of the action. In assessing damages, the Court may enter judgment up to

three times actual damages, and in awarding profits, the Court may in its discretion

enter judgment for such sum as the Court finds to be just, according to the

circumstances of the case.          The Court may also award BlenderBottle® its

reasonable attorneys’ fees for the necessity of bringing this claim.

        57.       BlenderBottle® has been damaged by Defendant’s conduct in an

amount to be determined at trial.

        58.       Due to Defendant’s actions, constituting false designation of origin,

false or misleading statements, false or misleading description of fact, false or

misleading representations of fact, passing off, and unfair competition,

BlenderBottle® has suffered and continues to suffer great and irreparable injury,

for which BlenderBottle® has no adequate remedy at law.

        59.       Defendant will continue its false designation of origin, false or

misleading statements, false or misleading description of fact, false or misleading




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representations of fact, passing off, and unfair competition, unless and until

Defendant is enjoined by this Court.

                          VI. FOURTH CLAIM FOR RELIEF
                                   (Unfair Competition)
                           (N.J. Stat. § 56:4-1 & Common Law)

        60.       BlenderBottle® repeats and re-alleges the allegations of paragraph 1-

59 of this Complaint as if set forth fully herein.

        61.       This is a claim for unfair competition arising under N.J. Stat. § 56:4-1

and New Jersey common law.

        62.       Defendant’s acts of trade dress infringement and false designation of

origin complained of herein constitute unfair competition under statutory law,

particularly the New Jersey Trademarks and Unfair Trade Practices Act. N.J. Stat.

§§ 56:4-1 and 4-2, and common law of the State of New Jersey.

        63.       BlenderBottle® is informed and believes, and based thereon alleges

that Defendant undertook the acts alleged above willfully, for the purpose of

enriching itself to BlenderBottle®'s detriment.

        64.       BlenderBottle® is entitled to actual, indirect, and/or trebled damages

as a direct and proximate result of Defendant’s unlawful and/or unfair business

acts or practices pursuant to N.J. Stat. § 56:4-2 and New Jersey common law.




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        65.       By its actions, Defendant has injured and violated the rights of

BlenderBottle® and has irreparably injured BlenderBottle®, and such irreparable

injury will continue unless Defendant is enjoined by this Court.

        WHEREFORE, BlenderBottle® prays for judgment in its favor against

Defendant for the following relief:

        A.        An Order adjudging Defendant to have willfully infringed the

Asserted Patents under 35 U.S.C. § 271;

        B.        A preliminary and permanent injunction enjoining Defendant, its

respective officers, directors, agents, servants, employees, customers, and

attorneys, and those persons in active concert or participation with Defendant, from

infringing the Asserted Patents in violation of 35 U.S.C. § 271, including, for

example, through the manufacture, use, sale, offer for sale, and/or importation into

the United States of Defendant’s products accused of infringing the Asserted

Patents, and any products that are not colorably different from these products;

        C.        That Defendant account for all gains, profits, and advantages derived

through Defendant’s infringement of the Asserted Patents in violation of

35 U.S.C. § 271, and that Defendant pay to BlenderBottle® all damages suffered

by BlenderBottle® and/or Defendant’s total profit from such infringement

pursuant to 35 U.S.C. §§ 284 and 289;




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        D.        That the Court find for BlenderBottle® and against Defendant on

BlenderBottle®’s claim of trade dress infringement, false designation of origin,

passing off, and unfair competition under 15 U.S.C. § 1125(a), N.J. Stat. § 56:4-2,

and New Jersey common law;

        E.        That the Court issue a preliminary and permanent injunction against

Defendant, its agents, servants, employees, representatives, successors, and

assigns, and all persons, firms, or corporations in active concert or activities and

from assisting or inducing, directly or indirectly, others to engage in the following

activities:

                  1.    manufacturing, importing, marketing, displaying, distributing,

                        offering to sell, and/or selling Defendant’s products infringing

                        the Classic Trade Dress and/or Agitator Trade Dress, or any

                        products that are not colorably different therefrom;

                  2.    using BlenderBottle®’s Classic Trade Dress, or any other trade

                        dress that is confusingly similar to BlenderBottle®’s Classic

                        Trade Dress;

                  3.    using BlenderBottle®’s Agitator Trade Dress, or any other

                        trade dress that is confusingly similar to BlenderBottle®’s

                        Agitator Trade Dress;

                  4.    falsely designating the origin of Defendant’s products;


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                  5.   passing off Defendant’s products as those of BlenderBottle®;

                  6.   misrepresenting by any means whatsoever, directly or

                       indirectly, the source or sponsorship of any of Defendant’s

                       products;

                  7.   unfairly competing with BlenderBottle® in any manner

                       whatsoever; and

                  8.   causing     a   likelihood   of   confusion   or   injuries    to

                       BlenderBottle®’s business reputation.

        F.        That an accounting be ordered to determine Defendant’s profits

resulting from its trade dress infringement, false designation or origin, passing off,

and unfair competition;

        G.        That BlenderBottle® be awarded monetary relief in an amount to be

fixed by the Court in its discretion as it finds just as an equitable remedy and as a

remedy under 15 U.S.C. § 1117 and/or N.J. Stat. § 56:4-2, including all damages

sustained by BlenderBottle® as a result of Defendant’s acts of trade dress

infringement, false designation of origin, passing off, and unfair competition, all

profits received by Defendant from sales and revenues of any kind made as a result

of its infringing actions, and the costs of this action.         That such award of

BlenderBottle® of damages and profits be trebled pursuant to 15 U.S.C. § 1117

and/or N.J. Stat. § 56:4-2;


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        H.        An Order adjudging that this is an exceptional case under 15 U.S.C.

§ 1117 and/or 35 U.S.C. § 285;

        I.        An Order that Defendant’s infringement is willful and a trebling of

damages and/or exemplary damages because of Defendant’s willful conduct

pursuant to 35 U.S.C. § 284;

        J.        An award to BlenderBottle® of the attorneys’ fees, expenses, and

costs incurred by BlenderBottle® in connection with this action pursuant to

35 U.S.C. § 285 15 U.S.C. § 1117 and/or New Jersey common law;

        K.        An award of pre-judgment and post-judgment interest and costs of this

action against Defendant; and,

        L.        Such other and further relief as this Court may deem just and proper.




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                                      Respectfully submitted,

                                      McCARTER & ENGLISH LLP


Dated: March 10, 2020              By: /s/ John E. Flaherty
                                     John E. Flaherty
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                                      Attorneys for Sundesa, LLC d/b/a
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          CERTIFICATION PURSUANT TO LOCAL CIVIL RULE 11.2

        I hereby certify that, to the best of my knowledge, the matter in controversy

is not the subject of any other action pending in any court or of any pending

arbitration or administrative proceeding.

                                            Respectfully submitted

                                            McCARTER & ENGLISH LLP


Dated: March 10, 2020                   By: /s/ John E. Flaherty
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